Case 6:16-CV-0097O-RBD-TBS Document 75 Filed 05/08/18 Page 1 of 1 Page|D 949

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle Disuicc ofF1orida E|

 

UN|TED STATES OF AMER|CA, EX
REL. BARBARA BERNIER; BARBARA BERN|ER;
and, ESE LOVE,

 

Plainrl_'j'(s)
V.

lNFlLAW CORPORAT|ON; CHARLOTTE SCHGOL
OF LAW, LLC; AMER|CAN BAR ASSOC|AT|ON,

Civil Action No. 6116-CV-00970-RBD-TBS

 

Dejéndant(s)

sUMMoNs 1N A CIVIL AcTIoN

To: (Defe"damls name and address American Bar Association, d/b/a Counci| of the Section of Lega| Education and
Admissions to the Bar

Attn: Barry A. Currier, Managing Director, Accreditation and Legal Education
321 North C|ark Street, 21st F|oor
Chicago, |L 60654-7598

A lawsuit has been filed against you.

Within 21 days after‘*service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,

whose name and address are: Co|eman W_ Watson' Esq.

189 South Orange Avenue,
Suite 810
Orlando, Florida 32801

If you fail to respond, judgment by default will be entered against you for the relief demanded m the complaint
You also must file your answer or motion with the court.

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